Case 2:19-cv-02374-KJM-EFB Document 21 Ftled 06/12/20 Page 1 of 4

June 6, 2020
Garrison Jones
P.O. Box 188911
Sacramento, California 96818

Keith Holland - | L E f)

Clerk of the Court JUN 1

US District Court Eastern California 2 2020

501 I Street Suite 4-200 en SfEht U8 Bis teiey Goues
Sacramento, California 95814-2322 wv =
Sir,

I am making the following formal compliant in regards to the manner in
which my case number 2:19-cv-02374 KJM-EFB is being handled and
administered by your office and staff. There are three major
concerns/complaints I want to file:

1. Un authorized/unsolicited legal advice

2. On February 10, 2020, I attempted to file and Request for Entry of
default with the clerk. The clerk a black woman with a Jamaican
accent who said that it was going to be denied as my application
for IFP was still pending refused it. This action severely damaged
my case and was improper for her to give me such legal advice.
The defendants have been notorious about responding to any
litigation. I filed the above complaint on November 25, 2019 and
as of the date of February 10, 2020, they had not responded and I
was entitled to enter a default judgement against them.

Ow

4. In addition to violating my rights under FRCP Rule 55 (a) your
clerk violated and interfered in my rights under FRCP 5 D (4) but
also violated and interfered with my rights under the 5" and 14"
Amendment Due Process where it clearly says that the federal
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government that no one shall be "deprived of life, liberty or
property without due process of law."

As a result of these violations, my case has been forever damaged I had
a right to file that motion based on the statue. After over 84 days after
February 10, 2020 and over 170 days since I filed the complaint, the
defendant filed a fraud laced motion to dismiss, that if the clerk would
have done her job and not interfered in my case would there would be a
different prospective in my case. Instead after I fled this request again it
was denied using not one but now two reasons one being my still
pending IFP application and now the motion filed by the defendants’ at
the last minute as I was forced to incur the expenses to force the
defendants to file a response, even though I did not have to do so.
However this has further complicated my case as in the 3 % years I have
fought the defendants in court, the filing of the May 4, 2010 motion was
the first and only response ( even though it be false and fraudulent) that
it was still the first they have ever filed.

By being refused, I now have a larger and more obstacles in y path due
specifically due to the acts committed by this clerk.

I have listed the violations that resulted from these acts.

RULE 5 D (4) Acceptance by the Clerk. The clerk must not refuse to
file a paper solely because it is not in the form prescribed by these rules
or by a local rule or practice.

Improper filing /rulings by the clerk of court

If you can see the docket history below. Specifically documents
(8), (9), (18), and (19)
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9 Filed & Entered: 05/19/2020 @ Clerk's Decline of Entry of Default
Filed: 05/18/2020 BH Request for Entry of Default
8 Entered: 05/19/2020
19 Filed & 06/05/2020 WP Clerk's Decline of Entry of Default
Entered:
Filed: 06/04/2020 BH Request for Entry of Default
18 Entered: 06/05/2020

For the record, I did not and I repeat did not file a Request Entry of
Default twice, yet it was entered twice and declined twice for the same
reason by two separate individuals in your office. On 6/05/202 by
(Huang, H) and on 5/19/2020 by York, M. Not sure if they are trying to send me a
message be declining this multiple times or that they are again interfering with my
case and the aiding and abetting of the defendants by again putting multiple obstacles
in my oath in the administration of justice and interference in a federal proceeding.
Whichever is the case. I want to file an official complaint and request that you send
me the proper documents and procedure to complete this task.

2:19-cv-02374-KJM-EFB (PS) Jones v. Velocity Technology Solutions et al
Kimberly J. Mueller, presiding
Edmund F. Brennan, referral
Date filed: 11/25/2019
Date of last filing: 06/05/2020

History
Doc. eye
No. Dates Description
Filed & Entered: 06/05/2020 B Service by Mail
19 Filed & Entered: 06/05/2020 @ Clerk's Decline of Entry of Default
Filed: 06/05/2020 Opposition to Motion
20 Entered: 06/08/2020
Filed: 06/04/2020 Request for Entry of Default
18 Entered: 06/05/2020
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9 Filed & Entered: 05/19/2020 B Clerk's Decline of Entry of Default

Filed:
7 Entered:
Filed:
8 Entered:
2
Regards

Auttca

Garrison Jones

Plaintiff

05/18/2020 B Opposition to Motion
05/19/2020 —

05/18/2020 B Request for Entry of Default
05/19/2020

| Filed & Entered: 11/25/2019 B Complaint
Filed & Entered: 11/25/2019 B Motion to Proceed In Forma Pauperis

 
